      Case 4:04-cr-00044-SWW    Document 127     Filed 09/27/06   Page 1 of 2



                   IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF ARKANSAS
                             WESTERN DIVISION



UNITED STATES OF AMERICA

vs.                                   NO. 4:04CR00044-001 SWW

MARIA BONDOC



                                      ORDER

      The above entitled cause came on for hearing on petition to revoke

the supervised released previously granted this defendant in the United

States District Court for the Eastern District of Arkansas.                Upon the

basis of the admissions of defendant, the Court found that defendant has

violated the conditions of her supervised release without just cause.

      IT IS THEREFORE ORDERED that the government’s motion for revocation

of supervised release previously granted this defendant is granted, and

her supervised release is revoked.

      IT   IS   FURTHER   ORDERED   that   defendant   shall   serve   a   term   of

imprisonment of NINE (9) MONTHS in the custody of the Bureau of Prisons.

The Court recommends that defendant participate in a non-residential

substance abuse treatment program during incarceration.

      There will no supervised release following defendant’s term of

imprisonment.

      IT IS FURTHER ORDERED that the restitution initially imposed in the

amount of $499.00, and the $250.00 fine and $100 special assessment

initially imposed remain due and payable, and all are reimposed. During

her term of incarceration, defendant shall pay 50% per month of all funds

available to her.
    Case 4:04-cr-00044-SWW   Document 127   Filed 09/27/06   Page 2 of 2




     The defendant is remanded to the custody of the United States

Marshal.

     IT IS SO ORDERED this 27th day of September, 2006.



                                      /s/Susan Webber Wright

                                      UNITED STATES DISTRICT JUDGE
